Case 2:11-cr-00116-LRS   ECF No. 240   filed 05/07/12   PageID.1000 Page 1 of 6
Case 2:11-cr-00116-LRS   ECF No. 240   filed 05/07/12   PageID.1001 Page 2 of 6
Case 2:11-cr-00116-LRS   ECF No. 240   filed 05/07/12   PageID.1002 Page 3 of 6
Case 2:11-cr-00116-LRS   ECF No. 240   filed 05/07/12   PageID.1003 Page 4 of 6
Case 2:11-cr-00116-LRS   ECF No. 240   filed 05/07/12   PageID.1004 Page 5 of 6
Case 2:11-cr-00116-LRS   ECF No. 240   filed 05/07/12   PageID.1005 Page 6 of 6
